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 5

 6                                  UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEVADA
 7

 8 Blake and Jenna Miller, individually and on         Case No.: 2:19-cv-01293-APG-VCF
   behalf of C.M., a minor child,
 9
                 Plaintiffs,                             Stipulation to Continue Settlement
10        v.                                           Conference (First Request) [ECF No. 59]

11
         United States of America,
12
                        Defendant.
13

14             The parties, through their respective counsel, seek to extend the settlement

15 conference currently scheduled for 10:00 a.m., August 27, 2021, to a date sometime between

16 September 13, 2021-September 30, 2021. The United States seeks this continuance because

17 it needs additional time to acquire settlement authority which is forthcoming in the next two

18 weeks. Counsel for Plaintiff is set for the damages phase of a mass-casualty trial which the

19 Court has set for the months of October, November, and December. Therefore, the parties

20 are respectfully requesting this settlement conference be continued to a date convenient to

21 the Court but no later than September 13-September 30, 2021. 1

22             Respectfully submitted this 18th day of August 2021.

23       Whitehurst, Harkness, Brees, Cheng,            CHRISTOPHER CHIOU
         Alsaffar, Higginbotham & Jacob, PLLC           Acting United States Attorney
24
          /s/ Jamal Alsaffar                            /s/ Brianna Smith
25       JAMAL ALSAFFAR                                 BRIANNA SMITH
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         Austin, Texas 78735
27       Attorneys for Plaintiffs
28   1
         Due to the ongoing pandemic, the parties have agreed to appear remotely.
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 1         IT IS HEREBY ORDERED that the settlement conference is hereby rescheduled

 2 and will be conducted by video conference at 10:00 a.m., ________________, 2021, before

 3 U.S. Magistrate Judge, Cam Ferenbach.

 4         IT IS FURTHER ORDERED that the confidential settlement statements shall be

 5 received by my chambers (U.S. Magistrate Judge Cam Ferenbach, located on the third

 6 floor at 333 Las Vegas Boulevard South, Ste. 3005, Las Vegas, Nevada) - not later 4:00

 7 p.m., __________________, 2021.

 8         IT IS FURTHER ORDERED that counsel/parties choosing to appear by video

 9 must email chambers at VCF_Chambers@nvd.uscourts.gov, with all email address(es) to

10 be used for the video conference hearing by noon, _____________________, 2021.

11         All remaining deadlines and orders from the Court’s Order (ECF No. 59), will

12 otherwise remain in effect.

13         DATED this ____ day of August 2021.

14
                                             _________________________________
15                                           CAM FERENBACH
16                                           UNITED STATES MAGISTRATE JUDGE

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